          Case 1:19-cv-02848-JEB Document 85 Filed 09/20/24 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 MONTE A. ROSE, JR., et al.,                      )
                                                  )
                       Plaintiffs,                )
                                                  )
                       v.                         )
                                                  )                   No. 1:19-cv-02848-JEB
 XAVIER BECERRA, in his official capacity as      )
 Secretary of Health and Human Services, et al.,  )
                                                  )
                       Defendants.                )
 ________________________________________________ )

              PLAINTIFFS’ RESPONSE TO INTERVENOR-DEFENDANT
           INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION’S
                  MOTION TO MODIFY STAY PENDING APPEAL

        Intervenor-Defendant’s motion rests on a mischaracterization of the events that led to this

Court’s order entering a limited stay and a misunderstanding of the reason why the Court of

Appeals lacks jurisdiction over Indiana’s appeal. Indiana asks this Court to modify the limited

stay to add a stay of the remand on the theory that doing so would provide the Court of Appeals

with jurisdiction over Indiana’s appeal. But whether the remand is stayed has no bearing on the

question of appellate jurisdiction when the federal agency that is the subject of the remand order

decides not to appeal. A stay cannot create jurisdiction where jurisdiction does not exist. Indiana’s

jurisdictional problem is thus not actually with Plaintiffs or with this Court’s stay order, but instead

with the federal government, which chose not to appeal, and with the D.C. Circuit, which assigns

dispositive jurisdictional consequences to that decision.

        Indiana’s motion accuses Plaintiffs of engineering a limited stay for the purpose of

preventing Indiana from appealing. Nothing could be further from the truth. The critical event for

jurisdictional purposes was the federal government’s decision not to appeal, and that decision came

after—and so far as Plaintiffs know was independent of—the parties’ agreement on the contours

                                                   1
           Case 1:19-cv-02848-JEB Document 85 Filed 09/20/24 Page 2 of 6




of the stay. The scope of the stay, or whether there is a stay at all, has no jurisdictional

consequences. Indiana’s attacks on Plaintiffs and our supposed “tactics” are simply misplaced.

The bottom line: Indiana lacks good cause because its requested modification would have no effect

on its ability to appeal—its stated justification for the motion. Mot. Intervenor-Def. Ind. Fam. &

Soc. Servs. Admin. Modify Stay Pending Appeal (Sept. 13, 2024), ECF No. 84 at 2 (hereafter ECF

No. 84).

       All that said, Plaintiffs understand Indiana’s concern about changing the status quo in the

event Indiana’s appeal is dismissed for lack of jurisdiction. Plaintiffs would thus agree to maintain

the status quo—as reflected in this Court’s stay pending appeal—through the remand proceedings

at the Department of Health and Human Services (HHS).

                                              ARGUMENT

  I.   Indiana’s Motion Does Not Accurately Reflect The Proceedings In This Case.

       This Court vacated and remanded the 2020 approval of Indiana’s Section 1115 project due

to the Secretary’s inadequate consideration of the project’s impact on providing medical assistance

to individuals who cannot afford it—the core purpose of the Medicaid Act. See Order (June 27,

2024), ECF No. 67; Mem. Op. (June 27, 2024), ECF No. 68. Indiana subsequently filed a motion

asking the Court (as relevant here) to certify Count I under Federal Rule of Civil Procedure 54(b)

“if the Court underst[ood] its opinion and order to adjudicate Count I of the supplemental

complaint and not the remaining counts.” Mot. Ind. Fam. & Soc. Servs. Admin. Entry J. Pursuant

Rule 54(b) and Rule 58 (July 3, 2024), ECF No. 69 at 2. That Rule 54(b) certification would

enable a defendant that had the right to appeal the Court’s order to do so. Accordingly, Plaintiffs

took no position on certification of Count I, Pls.’ Resp. Intervenor-Def.’s Mot. Entry J. Pursuant




                                                 2
          Case 1:19-cv-02848-JEB Document 85 Filed 09/20/24 Page 3 of 6




Rule 54(b) and Rule 58 (July 8 2024), ECF No. 70, and this Court granted that request by Indiana.

Order (July 10, 2024), ECF No. 71.

       Thereafter, on July 12, 2024, Indiana simultaneously filed a notice of appeal to the D.C.

Circuit, Notice Appeal (July 12, 2024), ECF No. 72, and a motion for a stay pending appeal in this

Court, Mot. Intervenor-Def. Ind. Fam. & Soc. Servs. Admin. Administrative Stay & Stay Pending

Appeal (July 12, 2024), ECF No. 73. As an attachment to its memorandum in support of a stay,

Indiana included a declaration from the State’s Medicaid Director along with a letter that the

Director sent to HHS, dated July 10, 2024. See Mem. Intervenor-Def. Ind. Fam. & Soc. Servs.

Admin. Supp. Mot. Administrative Stay & Stay Pending Appeal (July 12, 2024), ECF No. 74, Ex.

1-A. The declaration asserted Indiana’s view regarding the negative consequences of vacatur, and

the letter to HHS urged the agency in the absence of any stay to conduct an expedited review of

Indiana’s application and re-approve the project. Id.

       Plaintiffs, in their response to Indiana’s motion, indicated their openness to a limited stay

that would preserve the “imperfect status quo” for Medicaid beneficiaries in Indiana. Pls.’ Resp.

Intervenor-Def. Ind. Fam. & Soc. Servs. Admin. Mot. Stay Pending Appeal (July 26, 2024), ECF

No. 78 at 2, 12-13 (hereafter ECF No. 78). On August 5, this Court, recognizing “the parties’

potential agreement on the contours of a limited stay,” ordered the parties to file a joint status

report indicating whether they could reach an agreement as to a limited stay. Minute Order (Aug.

5, 2024). Plaintiffs, Indiana, and the federal government engaged in discussions that resulted in

an agreement. The parties memorialized that agreement in a joint status report submitted to this

Court on August 15, 2024. Joint Status Report (Aug. 15, 2024), ECF No. 81.

       Also on August 15, Federal Defendants informed Intervenor-Defendant and Plaintiffs of

their decision not to file a notice of appeal. Only once Plaintiffs learned of this decision did a



                                                3
          Case 1:19-cv-02848-JEB Document 85 Filed 09/20/24 Page 4 of 6




motion to dismiss for lack of appellate jurisdiction emerge as the subsequent course of action.

What Indiana’s motion overlooks is that it is not the nature of the stay that, as Indiana puts it,

“poses an obstacle to appellate review.” ECF No. 84 at 4. Instead, Federal Defendants’ choice

not to appeal means that the Court of Appeals lacks jurisdiction over an appeal of a remand order

brought only by Indiana, an intervenor. See, e.g., Melinta Therapeutics, LLC v. U.S. Food & Drug

Admin., No. 22-5288, 2022 WL 19723218, at *1 (D.C. Cir. Dec. 1, 2022); Sierra Club v. U.S.

Dep’t of Agric., 716 F.3d 653, 656-57 (D.C. Cir. 2013); Pueblo of Sandia v. Babbitt, 231 F.3d 878,

880-81 (D.C. Cir. 2000). That, not the order granting the limited stay, is what prompted Plaintiffs

to file a motion to dismiss in the Court of Appeals. Whether there is a stay of remand or not is of

no jurisdictional consequence.

 II.   To Eliminate Indiana’s Perceived Concerns, Plaintiffs Would Agree To Extend The
       Limited Stay To Apply Pending Remand.

       Plaintiffs understand Indiana’s motion to reiterate the State’s core concern—the claimed

disruptive consequences for its Medicaid program that vacatur would purportedly engender.

Indiana’s parade of horribles allegedly resulting from vacatur is by now quite familiar. See ECF

No. 84 at 5. While Plaintiffs maintain their disagreement with Indiana’s assertion that vacatur

would require the State to transition beneficiaries to a lower tier of benefits, Plaintiffs are willing

to agree to the same limited stay that would prevent those alleged consequences of vacatur pending

remand. Doing so would fully address the State’s concern about what will happen if the Court of

Appeals dismisses Indiana’s appeal and the stay pending appeal were to subsequently terminate

while remand remains pending. See id.

       As Plaintiffs explained in their response to Indiana’s motion for a stay pending appeal, “an

imperfect status quo has emerged in Indiana. Medicaid enrollees have not paid premiums for

several years but have received HIP Plus benefits.” ECF No. 78 at 13. Indiana’s Medicaid Director


                                                  4
         Case 1:19-cv-02848-JEB Document 85 Filed 09/20/24 Page 5 of 6




has said publicly that her agency wants to “maintain the status quo for the program.” Whitney

Downard, Medicaid advisory panel weighs in on HIP lawsuit, Pathways transition, Ind. Cap.

Chron. (Aug. 22, 2024), https://indianacapitalchronicle.com/2024/08/22/medicaid-advisory-

panel-weighs-in-on-hip-lawsuit-pathways-transition/.   An agreement to continue the already-

agreed-to limited stay, pending remand, would achieve that goal.

                                       CONCLUSION

       The Court should deny Indiana’s Motion.

Dated: September 20, 2024                                  Respectfully submitted,

                                                           /s/ Jane Perkins
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                                               5
         Case 1:19-cv-02848-JEB Document 85 Filed 09/20/24 Page 6 of 6




                               CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2024 I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system, which will send an electronic notice to all authorized

CM/ECF filers.

                                                           /s/ Jane Perkins
                                                           Jane Perkins




                                               6
